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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                             :          CASE NO. 19-62423-LRC
                                                   :
BU YONG KIM,                                       :          CHAPTER 7
                                                   :
         Debtor.                                   :
                                                   :
                                                   :
WILLIAM J. LAYNG, JR.,                             :
Chapter 7 Trustee for the Estate of                :
Bu Yong Kim,                                       :
                                                   :
         Plaintiff,                                :
                                                   :
vs.                                                :          ADV. PRO. NO.
                                                   :
UNITED WHOLESALE MORTGAGE and                      :
NATIONSTAR MORTGAGE, LLC d/b/a                     :
MR. COOPER,                                        :
                                                   :
         Defendants.                               :
                                                   :


                                            COMPLAINT

         William J. Layng, Chapter 7 Trustee (“Trustee” or “Plaintiff”) for the bankruptcy estate

(the “Bankruptcy Estate”) of Bu Yong Kim (“Debtor”), files this Complaint (the

“Complaint”) against United Wholesale Mortgage (“United”) and Nationstar Mortgage LLC

d/b/a/ Mr. Cooper (“Nationstar” and with United, the “Defendants”), and shows the Court as

follows:

                                        Jurisdiction and Venue

         1.        This adversary proceeding is initiated pursuant to Rule 7001(a) of the Federal

Rules of Bankruptcy Procedure and 11 U.S.C. §§ 544, 550, and 551.

         2.        Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409(a), because



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this adversary proceeding arises in and relates to the Chapter 7 bankruptcy case styled as In re

Bu Yong Kim, Case No. 19-62423-LRC (the “Bankruptcy Case”), pending in United States

Bankruptcy Court, Northern District of Georgia, Atlanta Division.


        3.    This adversary proceeding constitutes a core proceeding pursuant to 28 U.S.C. §

157(b)(2).

        4.    This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 1334 and 157.

        5.    Trustee consents to the entry of final orders or judgments by the Bankruptcy

Court pursuant to Bankruptcy Rule 7008 of the Federal Rules of Bankruptcy Procedure.

        6.    The Defendants are subject to the jurisdiction of this Court.

                                       Statement of Facts

                                    a. General Background

        7.    On August 7, 2019 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 7 of Title 11 of United States Code, initiating the Bankruptcy Case as a

Chapter 7 proceeding.

        8.    Trustee was thereafter appointed to the Bankruptcy Case as the interim Chapter 7

Trustee under 11 U.S.C. § 701(a)(1).

        9.    At the conclusion of the meeting of creditors, conducted in accordance with 11

U.S.C. § 341(a) on September 10, 2019, Trustee became the permanent Chapter 7 Trustee under

11 U.S.C. § 702(d).

                                        b. The Property

        10.   On the Petition Date, Debtor owned that certain real property commonly known

as 51 Ludwick Lane, Lawrenceville, GA 30046 (the “Property”) jointly with his wife, Hannah



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Kim.

                                          c. The Transfers

        11.    On or about December 29, 2017, Debtor and his wife executed a Security Deed

(the “Security Deed”) in favor of Mortgage Electronic Registration Systems, Inc. (“MERS”) as

nominee for United, conveying the Property to secure a debt (the “Debt”) in the amount of

$164,500.00 (“Transfer #1”).

        12.    The Security Deed was recorded on the real property records with the Clerk of the

Superior Court of Gwinnett County, State of Georgia (the “Real Estate Records”) on January 8,

2018, beginning at page 40 of Deed Book 55638 (“Transfer #2”, and together with Transfer #1,

the “Transfers”).

        13.    A true and correct copy of the Security Deed, along with any riders, is attached

hereto and incorporated herein by reference as Exhibit “A.”

        14.    Upon information and belief, United is the holder of the Security Deed and any

related interest in the Property arising out of the same.

        15.    Upon information and belief, Nationstar is the servicer of the Debt.

        16.    The execution of the Security Deed by Debtor and his wife was not attested by an

official witness as required by O.C.G.A. § 44-14-61, and this defect in attestation is apparent

from the face of the Security Deed.

        17.    As a result, the Security Deed was not in recordable form, and, even though

recorded, does not provide actual or constructive notice to a bona fide purchaser.




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                                                COUNT I

                      Claim to Avoid the Transfers under 11 U.S.C. § 544(a)(3)

             18.   Trustee hereby re-alleges and incorporates paragraphs 1 through 17 of this

Complaint as if the same were set forth verbatim herein.

          19.      The Security Deed is patently defective because Debtor’s execution of the

Security Deed is not attested to by an official witness.

          20.      Because of this patent defect, the Security Deed does not provide Trustee, in his

role as a hypothetical bona fide purchaser, notice of any security interest. See U.S. Bank Nat’l

Ass’n v. Gordon, 289 Ga. 12, 17 (2011); Wells Fargo Bank. N.A. v. Gordon, 292 Ga. 474, 477

(2013).

          21.      Trustee, in his role as a hypothetical bona fide purchaser of real property, has a

claim in the Debtor’s one-half interest in the Property that is superior to the claim of United, and

Trustee may avoid the Transfers under 11 U.S.C. § 544(a)(3).

                                                COUNT II

          Claim to Recover United’s Interest in the Property under 11 U.S.C. § 550(a)

          22.      Trustee hereby re-alleges and incorporates paragraphs 1 through 21 of this

Complaint as if the same were set forth verbatim herein.

          23.      United is the initial transferee of an interest in the Property from Debtor, or

United is the entity for whose benefit the Transfers were made.

          24.      Alternatively, United is a mediate or immediate transferee of an interest in the

Property from Debtor.

          25.      Plaintiff is entitled to recover from United its interest in the Property, the value of

the Transfers, or other appropriate relief, under 11 U.S.C. § 550.




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                                            COUNT III

                Claim for Preservation of Avoided Transfers under 11 U.S.C. § 551

          26.    Trustee hereby re-alleges and incorporates paragraphs 1 through 25 of this

Complaint as if the same were set forth verbatim herein.

          27.    The avoided Transfers are preserved automatically for the benefit of the

Bankruptcy Estate under 11 U.S.C. § 551.

          WHEREFORE, Trustee prays the Court enter a judgment in favor of Trustee and against

United:

          a)     Avoiding the Transfers under 11 U.S.C. § 544(a)(3);

          b)     Ordering United to turnover, deliver, and transfer its interest in the Property, or

the value of the same, to Trustee under 11 U.S.C. §550;

          c)     Preserving the Transfers for the benefit of the Bankruptcy Estate under 11 U.S.C.

§ 551; and

          d)     Granting such other and further relief that the Court deems just and proper.

          Respectfully submitted this 3rd day of February, 2020.

                                               ARNALL GOLDEN GREGORY, LLP
                                               Attorneys for Chapter 7 Trustee

                                               By: /s/ Michael J. Bargar
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                             EXHIBIT “A” FOLLOWS




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